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UNITED STATES DISTRICT COURT

WESTERN DISTRICT OF TENNESSEE
EASTERN DIVISION

Janice A Hamilton
1504 East Main Street
Savannah, Tennessee 383 72

Plaintiff,
533

v. Civil Action No.ea:lnzr§-T

05- tc)?> l

Jo Anne B. Barnhart
Commissioner of

Social Security,
Defendant.

ORDER
Wherefore, for good cause shown and it appearing to the court that Plaintiff
requires extra time to prepare Plaintiff’s brief, and, because the United States Attorney

representing the government in this matter consents to the additional time requested,

It is, accordingly, ordered, adjudged, and decreed that Plaintiff is granted an

additional period of tirne, up to and including August 8, 2005, to file Plaintiff’s brief in support

of her Cornplaint.

 
 

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with ama sa and:or rs {a) FRCP on ’ 7 9

 

 

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P.`o. B 3338

Jackson, TN 38303-3338 /
901-424-1305 j
TN BPR # 006600

Certificate of Service
I certify that I have mailed a true and exact copy fo the foregoing Proposed Order
to Joseph Dycus, Assistant United States Att ' 7 North Main

  

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 12 in
case 1:05-CV-01037 Was distributed by faX, mail, or direct printing on
July 22, 2005 to the parties listed.

 

 

Joe A. Dycus

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P.O. Box 3338

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Honorable J ames Todd
US DISTRICT COURT

